Case 2:05-cr-20171-.]PI\/| Document 10 Filed 08/10/05 Page 1 of 2 Page|D 12

£D B`\( ____‘_______ D.c.
IN THE UNITED STATES DISTRICT EBURT
FOR THE WESTERN DISTRICT OF TENH§%EE§G h“l‘;\g

wESTERN DIvISION
`s"r@h?\§ %:. C'JJLD
CLEF-.`.&. UB. §§ ¥GT_ COURT

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"T.B:"L} "¢J " `

  

UNITED STATES OF AMERICA,
Plaintiff,

V.

LATONIA JOHNSON,

Defendant.

v-_/-_r-._/~._»V-_rv-._,~_._p

 

ORDER GRANTING MOTION TO CONTINUE SENTENCING HEARING

 

Before the Court is the Defendant’s Motion to Continue
August 10, 2005 Sentencing, filed August 8, 2005. The motion is
hereby GRANTED and the Sentencing hearing is RESET to Friday,

October 21, 2005 at 2:30 D.m.

SO ORDERED thiS (P DAY OF AuguSt, 2005.

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JO P. MCCALLA
ITED STATES DISTRICT JUDGE

 

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This notice confirms a copy of the document docketed as number 10 in
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Benard Weinman

LAW OFFICE OF BENARD WEINMAN
275 Jefferson Ave

Memphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

